Case 8:17-cv-01397-JVS-JDE Document 66 Filed 05/18/18 Page 1 of 5 Page ID #:423




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     Attorneys for Plaintiffs and the Class
  12 [Additional Counsel Listed on Signature Page]

  13
                             UNITED STATES DISTRICT COURT
  14
                            CENTRAL DISTRICT OF CALIFORNIA
  15

  16    MEGAN SCHMITT, DEANA                      Case No. 8:17-cv-01397-JVS-JDE
        REILLY, CAROL ORLOWSKY, and
  17    STEPHANIE MILLER BRUN,                    STIPULATION TO MODIFY
        individually and on behalf of             SCHEDULING ORDER AND ORDER
  18    themselves and all others similarly       ON JURY TRIAL
        situated,
  19
                    Plaintiffs,
  20                                              The Hon. James V. Selna
              v.                                  Santa Ana, Courtroom 10C
  21
        YOUNIQUE, LLC,                            Complaint Filed: 8/17/17
  22                                              Trial Date: 2/19/19
                    Defendant.
  23

  24

  25
       I.    INTRODUCTION
  26
             The Parties to this action, through their undersigned counsel, submit the
  27
       following stipulation to modify the scheduling order entered by this Court on
  28
                                                -1-
             STIPULATION TO MODIFY SCHEDULING ORDER AND ORDER ON JURY TRIAL
Case 8:17-cv-01397-JVS-JDE Document 66 Filed 05/18/18 Page 2 of 5 Page ID #:424




   1 December 11, 2017 (Dkt. 56 & 56-1) and the Order re: Jury Trial (Dkt. 57). The

   2 Parties are requesting this extension in order to permit the parties to continue

   3 discovery and schedule and complete certain out-of-state depositions, followed by a

   4 good faith effort at private mediation.

   5        The Parties submit this request to promote orderly case management. For the
   6 following reasons, the Parties respectfully request this Court enter an order

   7 consistent with the Parties’ stipulation.

   8 II.    RECITALS
   9        1.     Whereas, Plaintiff Megan Schmitt personally served her Class Action
  10 Complaint on August 17, 2017;

  11        2.     Whereas, consistent with the Stipulation filed on September 26, 2017
  12 [Dkt. 39], Plaintiff Schmitt and three additional named Plaintiffs filed their First

  13 Amended Class Action Complaint on October 13, 2017;

  14        3.     Whereas the Court held a status conference on December 11, 2017,
  15 where the Court set the following dates:

  16               Last date to file motion for class certification – June 1, 2018
  17               Last date to complete private mediation – June 29, 2018
  18               Initial Disclosure of Experts Not Later Than – August 1, 2018
  19               Hearing on Plaintiffs’ motion for class certification – August 20, 2018
  20               Rebuttal Disclosure of Experts Not Later Than – October 1, 2018
  21               Expert Discovery Cut-Off – December 15, 2018
  22               Law and Motion Cut-Off – January 7, 2019 (with motions to be filed
  23               and served not later than December 4, 2018) (Dkt. 56 & 56-1);
  24        4.     Whereas following the status conference, the Court entered an Order
  25 for Jury Trial Setting the following dates:

  26               Discovery cut-off – June 1, 2018
  27               Pre-trial conference – February 4, 2019, at 11:00 a.m.
  28
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                 STIPULATION TO MODIFY SCHEDULING ORDER AND ORDER ON JURY TRIAL
Case 8:17-cv-01397-JVS-JDE Document 66 Filed 05/18/18 Page 3 of 5 Page ID #:425




   1                Jury Trial – February 19, 2019, at 8:30 a.m.
   2        5.      Whereas the Parties have worked diligently to exchange and respond to
   3 written discovery;

   4        6.      Whereas, on April 18, 2018, Defendant Younique, LLC served
   5 deposition notices to take the depositions of Plaintiffs Megan Schmitt, Deana Reilly,

   6 Carol Orlowsky and Stephanie Miller Brun on May 1, 2018 and May 7, 2018, May

   7 8, 2018 and May 9, 2018, respectively;

   8        7.      Whereas, on April 27, 2018, Plaintiffs’ counsel served objections to the
   9 deposition notices asserting that the Plaintiffs’ depositions could not go forward due

  10 to unavailability of Plaintiffs and their counsel;

  11        8.       Whereas the Parties are currently working with each other on a
  12 deposition schedule for Plaintiffs’ depositions and a third-party deposition (Lori

  13 DeBell) that takes into account all counsels’ travel and trial calendars, given that

  14 several Plaintiffs and the third-party deponent reside out of state;

  15        9.      Whereas the Parties respectfully request additional time to allow them
  16 to continue working together to complete fact discovery and thereafter attend a

  17 meaningful private mediation, as previously ordered by this Court.

  18        10.     In light of the foregoing, the parties stipulate that there is GOOD
  19 CAUSE to continue certain case management deadlines and the parties mutually

  20 seek an Order from the Court modifying the case managements schedule as follows:

  21

  22   Case Management Event:                  Prior-Operative          NEW Date-
                                               Date-Deadline:           Deadline:
  23   Last day to schedule to commence        May 24, 2018             July 30, 2018
  24   the depositions of Plaintiffs Megan
       Schmitt, Deana Reilly, Carol
  25   Orlowsky and Stephanie Miller
  26   Brun and third-party Lori DeBell,
       and Rule 30(b)(6) deposition of
  27   Defendant Younique, LLC
  28
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                  STIPULATION TO MODIFY SCHEDULING ORDER AND ORDER ON JURY TRIAL
Case 8:17-cv-01397-JVS-JDE Document 66 Filed 05/18/18 Page 4 of 5 Page ID #:426




   1   Case Management Event:                     Prior-Operative         NEW Date-
                                                  Date-Deadline:          Deadline:
   2   Last date for Plaintiffs to file           June 1, 2018            August 1, 2018
   3   motion for class certification

   4
       Last date to complete private              June 29, 2018           August 31, 2018
       mediation
   5
       Last date for Defendant to file            TBD                     September 21, 2018
   6   opposition to motion for class
       certification
   7
       Last date for Plaintiffs to file reply     TBD                     October 5, 2018
   8
       in support of motion for class
   9   certification
  10   Hearing on Plaintiffs’ motion for          August 20, 2018, at October 15, 2018, at
       class certification                        1:30 p.m.           1:30 p.m.
  11

  12        11.     Whereas Plaintiffs agree they will not seek leave to amend to identify

  13 additional named Plaintiffs.

  14 IT IS SO STIPULATED.

  15
       Dated: May 18, 2018                      NYE, PEABODY, STIRLING, HALE &
  16                                            MILLER, LLP
  17
                                                By: /s/
  18                                                Jonathan D. Miller, Esq.
                                                    Alison M. Bernal, Esq.
  19

  20   Dated: May 18, 2018                      CARLSON LYNCH SWEET
                                                KILPELA & CARPENTER, LLP
  21
                                                By: /s/
  22                                                Ed Kilpela, Esq.
  23

  24   Dated: May 18, 2018                      THE SULTZER LAW GROUP P.C.
  25                                            By: /s/
                                                    Adam Gonnelli, Esq.
  26
  27   Signatures continued on next
       page
  28
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                  STIPULATION TO MODIFY SCHEDULING ORDER AND ORDER ON JURY TRIAL
Case 8:17-cv-01397-JVS-JDE Document 66 Filed 05/18/18 Page 5 of 5 Page ID #:427




   1
        Dated: May 18, 2018                  WALSH, LLC
   2

   3                                         By: /s/
                                                 Bonner Walsh, Esq.
   4

   5                                         Attorneys for Plaintiffs and the Class
   6

   7    Dated: May 18, 2018                  SHEPPARD, MULLIN, RICHTER &
                                             HAMPTON, LLP
   8

   9                                         By: /s/
                                                  Sascha Henry, Esq.
  10                                             Jonathan D. Moss, Esq.
                                                 Abby H. Meyer, Esq.
  11

  12                                         Attorneys for Defendant, Younique, LLC
  13
             Local Rule 5-4.3.4 Certification: I hereby attest that all other signatories
  14
       listed, on whose behalf this filing is submitted, concur in the filing’s content and
  15
       have authorized this filing.
  16
                                                       /S/
  17                                           Alison M. Bernal
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                 STIPULATION TO MODIFY SCHEDULING ORDER AND ORDER ON JURY TRIAL
